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 1
                                                         THE HONORABLE RICHARD A. JONES
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 7                             UNITED STATES DISTRICY COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9
     UNITED STATES OF AMERICA,
10                                                           CASE NO. 2:18-cr-131-RAJ
                                     Plaintiff,
11                                                           ORDER GRANTING EARLY
            v.                                               TERMINATION OF
12                                                           SUPERVISED RELEASE
     DONNIE CHEATHAM,
13
                                     Defendant.          .




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15          THIS MATTER comes before the Court on Defendant Donnie Cheatham’s motion
16   for early termination of supervised release. Dkt. # 1551. Having thoroughly considered the

17   motion and the balance of the record the Court hereby GRANTS the motion.
            The Court may terminate a term of supervised release at any time after the expiration
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     of one year of supervised release “if it is satisfied that such an action is warranted by the
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     conduct of the defendant released and the interest of justice.” 18 U.S.C. §§ 3564(c), 3583(e).
20   In deciding whether early termination is appropriate, the Court must consider several factors,
21   including the nature and circumstances of the offense, the defendant’s history and
22   characteristics, the need to deter criminal conduct, the need to protect the public from further

23   crimes, and the need to avoid disparity among similarly situated defendants. See 18 U.S.C.
     § 3583(e) (citing to factors in 18 U.S.C. §3553(a)); see also United States v. Emmett, 749
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     F.3d 817, 820 (9th Cir. 2014). After consideration of the factors required by 18 U.S.C.
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     § 3583(e), the Court finds that early termination is warranted. Defendant’s compliance with
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     the conditions of supervision render continued supervision no longer appropriate.



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 1          For the forgoing reasons, the Court GRANTS defendant Donnie Cheatham’s motion

 2   for early termination of supervised release. Dkt. # 1551.

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            DATED this 2nd day of November, 2021.
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                                                         A
                                                         The Honorable Richard A. Jones
                                                         United States District Judge
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     ORDER - 2
